Case 2:19-cv-00291-JRG-RSP Document 187 Filed 01/04/21 Page 1 of 2 PageID #: 6238




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

   ULTRAVISION TECHNOLOGIES, LLC                    §
                                                    §
   v.                                               §       Civil Action No. 2:19-cv-291-JRG-RSP
                                                    §
   HOLOPHANE EUROPE LIMITED                         §


                               ORDER REGARDING EXHIBITS

         The Court enters this order sua sponte. Due to the voluminous exhibits expected to be

  tendered during the trial of this case, the Court ORDERS the following:

         A.     On the first day of trial, each party is required to have on hand the following:

                (1)     One (1) copy of their respective original exhibits. Each exhibit shall be

                        properly labeled with the following information: Identified as either

                        Plaintiff’s or Defendant’s Exhibit, the Exhibit Number and the Case

                        Number. In addition, exhibits shall be placed in properly marked letter size

                        manilla folders and contained in a box with handles.

                (2)     Three (3) hard copies of their exhibit list and witness list. These lists

                        shall reflect all pretrial evidentiary rulings and shall be tendered to the

                        Courtroom Deputy at the beginning of trial.

         B.     During trial and on a daily basis, each party shall tender to the Court a new list

                reflecting any additional exhibits admitted the previous day.

         C.     The form of the list referenced in Paragraphs A.(2) and B. shall conform with Form

                AO 187 and AO 187A (available at http://www.uscourts.gov/forms/other-forms).

         D.     At the conclusion of the evidentiary phase of trial, each party is to gather only those

                exhibits admitted during trial and tender those to the Courtroom Deputy.
Case 2:19-cv-00291-JRG-RSP Document 187 Filed 01/04/21 Page 2 of 2 PageID #: 6239




        E.    At the conclusion of trial, all boxes of exhibits shall be returned to the respective

              parties and the parties are instructed to remove these exhibits from the courtroom.

        F.    Within five business days of the conclusion of trial, each party shall submit to the

              Courtroom Deputy a Final Exhibit List of all exhibits admitted during trial.

        G.    Within five business days of the conclusion of trial, each party shall submit to the

              Courtroom Deputy a disk or disks containing their respective admitted trial

              exhibits in PDF format with the exception of sealed exhibits. Sealed exhibits shall

              be submitted on a separate disk or disks. If tangible or over-sized exhibits are

              admitted, such exhibits shall be substituted with a photograph to be converted to a

              PDF file and shall be included in the Court’s disk of admitted exhibits.

        H.    After verification of final exhibit lists, the Courtroom Deputy shall file and docket

              the lists, and the disk or disks containing the exhibits in PDF format shall be stored

              in the Clerk’s Office, Marshall Division.


       So Ordered this
       Jan 4, 2021




                                                2
